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 7
                                     UNITED STATES DISTRICT COURT
 8                                  WESTERN DISTRICT OF WASHINGTON
 9                                            AT SEATTLE

10
                                                          Cause No. 2:20-CV-1740
11   ROBERT KESSLER,
12                                 Plaintiff,
                                                          COMPLAINT FOR DECLARATORY AND
13                               -vs-                     INJUNCTIVE RELIEF
14   DUMPLINGS OF FURY LLC, and
     THINKING MAN’S LLC, Individually,
15
                                   Defendants.
16
17
18           COMES NOW, Plaintiff, ROBERT KESSLER (hereinafter the “Plaintiff”), through
19
     undersigned counsel, hereby files this Complaint and sues DUMPLINGS OF FURY LLC, a
20
     Washington Limited Liability Company, and THINKING MAN’S LLC, (hereinafter,
21
     collectively the “Defendants”), for injunctive relief, attorney’s fees and costs (including, but not
22
23   limited to, court costs and expert fees), pursuant to 42 U.S.C. §12181, et. seq., commonly

24   referred to as the “AMERICANS WITH DISABILITIES ACT” or “ADA” and alleges:
25
26
27

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 1                                     JURISDICTION AND PARTIES
 2           1.        This is an action for declaratory and injunctive relief pursuant to Title III of the
 3
     Americans with Disabilities Act, 42 U.S.C. §12181, et. seq., (hereinafter referred to as the
 4
     “ADA”). This Court is vested with jurisdiction under 28 U.S.C. §1331 and §1343.
 5
             2.        Venue is proper in this judicial district pursuant to 28 U.S.C. §1391 in that all events
 6
 7   and procedures giving rise to this Complaint occurred in this judicial district.

 8           3.        At the time of Plaintiff’s personal visit to Defendants’ public accommodation, prior
 9   to instituting he instant action, Robert Kessler (hereinafter referred to as “Kessler”), was a resident
10
     of the State of Washington, and suffered from what constitutes a “qualified disability” under the
11
     Americans with Disabilities Act of 1990, and used a wheelchair for mobility due to this disability.
12
     Plaintiff has an amputated leg. He is required to traverse with a wheelchair and is substantially
13
14   limited to performing one or more major life activities including, but not limited to walking,

15   standing and maneuvering.
16           4.        The Plaintiff personally visited, on or about October 21, 2020 Defendants’ premises
17
     open to the public, but was denied full and equal access to, and full and equal enjoyment of the
18
     facilities, services, goods, privileges and accommodations offered to others without disabilities;
19
20   because of his disability requirements. Plaintiff lives in King County, Washington and travels in

21   the surrounding areas near Defendants’ facilities on a regular basis for shopping, dining and

22   entertainment.
23
             5.        Upon information and belief, THINKING MAN’S LLC, a Washington Limited
24
     Liability Company or Corporation, is the lessor and/or owner operator of the real property and/or
25
     premises that are the subject of this lawsuit, commonly referred to as Dumplings of Fury located
26
27   at 4302 SW Oregon Street, Seattle, Washington.

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 1           6.        Upon information and belief, DUMPLINGS OF FURY LLC a Washington Limited
 2   Liability Company or Corporation located at 4302 SW Oregon Street, Seattle, Washington is the
 3
     lessee, operator and/or owner of the real property (the “Subject Facility”). Each Defendant own,
 4
     leases, leases to, or operates a place of public accommodation as defined by the ADA and the
 5
     regulations implementing the ADA, 28 CFR §36.201(a) and §36.104.
 6
 7
 8               COUNT I – VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT
 9           7.        On or about July 26, 1990, Congress enacted the Americans with Disabilities Act
10
     (“ADA”), 42 U.S.C. §12101, et. seq. Commercial enterprises were provided one and a half years
11
     from enactment of the statute to implement all its requirements. The effective date of the Title III
12
     of the ADA was January 26, 1992. 42 U.S.C. §12181; 20 C.F.R. §36.508(a).
13
14           8.        Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the Subject Facility and

15   real property in this case is a place of public accommodation under the ADA in that they are
16   establishments which provide goods and services to the public.
17
             9.        Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the building and/or
18
     premises which is the subject of this action is a public accommodation covered by the ADA and
19
20   which must be in compliance therewith as of the date of the Plaintiff’s visit.

21           10.       The Plaintiff is informed and believes, and therefore alleges, that the Subject

22   Facility has begun operations and/or undergone remodeling, repairs and/or alterations since
23
     January 26, 1990 and more specifically on or after March 15, 2012 as it pertains to 28 C.F.R. §
24
     36.406.
25
             11.       Defendants have discriminated under the ADA, and continue to discriminate,
26
27   against the Plaintiff, and others who are similarly situated, by denying full and equal access to, and

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 1   full and equal enjoyment of, goods, services, facilities, privileges, advantages and/or
 2   accommodations at Defendants’ Subject Facilities in derogation of 42 U.S.C. §12101, et. seq., and
 3
     as prohibited by 42 U.S.C. §12182 et. seq., and by failing to remove architectural barriers
 4
     pertaining to the Plaintiff’s disability pursuant to 42 U.S.C. §12182(b)(2)(a)(iv), where such
 5
     removal is readily achievable.
 6
 7           12.       The Plaintiff has been unable to, and continues to be unable to, enjoy full and equal

 8   safe access to, and the benefits of, all accommodations and services offered at Defendants’ Subject
 9   Facilities. Prior to the filing of this lawsuit, the Plaintiff visited the subject properties and was
10
     denied full and safe access to all the benefits, accommodations and services of the Defendants.
11
     Prior to the filing of this lawsuit, Kessler, personally visited DUMPLINGS OF FURY located at
12
     4302 SW Oregon Street, Seattle, Washington, with the intention of accessing Defendants’
13
14   facilities, but was denied full and safe access to the facilities due to the inactions of removing

15   applicable barriers. Plaintiff intends to return to the Defendant’s premises and pubic accommodate
16   upon the premises being made ADA compliant for access, but is currently deterred from returning
17
     due to these barriers. As such, Plaintiff is likely to be subjected to reencountering continuing
18
     discrimination at the premises unless it is made readily accessible to and usable by individuals
19
20   with disabilities to the extent required under the ADA, including the removal of the architectural

21   barrier which remain at the premises.

22           13.       Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the Department
23
     of Justice, Office of the Attorney General, promulgated Federal Regulations to implement the
24
     requirements of the ADA, known as the Americans with Disabilities Act Accessibility Guidelines
25
     (hereinafter “ADAAG”), 28 C.F.R. Part 36. Defendants facilities do not comply with these
26
27   Guidelines.

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 1           14.       The Defendants’ premises are in violation of 42 U.S.C. §12182 et. seq., the ADA
 2   and 28 C.F.R. §36.302 et. seq., and has and is discriminating against the Plaintiff. The Plaintiff
 3
     was deterred from encountering every non-compliant barrier at the premises due to the nature of
 4
     encountering some barriers that denied the Plaintiff’s full and equal enjoyment of the facility.
 5
     Therefore, the Plaintiff encountered the following specific barriers to access that include but are
 6
 7   not limited to the following, but also retains standing to allege non-compliance for any barrier not

 8   encountered by the Plaintiff at the premises related to the Plaintiff’s specific disability
 9   requirements under Doran v. 7-Eleven, Inc., 524 F.3d 1034, 1047 (9th Cir. 2008):
10
                                                VIOLATIONS
11
             15(a). Failure to provide ADA compliant International symbol of accessibility signage at
12
     the subject property in violation of 2010 ADAS Section 216.6 and/or 1991 ADA Standards for
13
14   Accessible Design. The premises failed to have any ADA compliant signage indicating the

15   location of the nearest accessible entrance which Plaintiff requires as Plaintiff utilizes a wheelchair
16   due to the Plaintiff’s disability and such handicapped accessible parking stalls are necessary. Said
17
     barrier is covered by the A.D.A. guidelines and is in nonconformity with the requirements for such
18
     architecture.
19
20           15(b). Failure to provide ADA compliant entrance stairs at the subject property in

21   violation of 2010 ADAS Section 504.2 and/or 1991 ADA Standards for Accessible Design. The

22   premises failed to have compliant stairs in height and tread depth as required as Plaintiff utilizes a
23
     wheelchair for mobility. Said barrier is covered by the A.D.A. guidelines and is in nonconformity
24
     with the requirements for such architecture.
25
             15(c). Failure to provide ADA compliant stair flight handrails at the subject property in
26
27   violation of 2010 ADAS Section 505.10.3 and/or 1991 ADA Standards for Accessible Design.

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 1   The premises failed to have compliant wheelchair accessible handrail extensions at the bottom of
 2   the stair flight as Plaintiff utilizes a wheelchair for mobility. Said barrier is covered by the A.D.A.
 3
     guidelines and is in nonconformity with the requirements for such architecture.
 4
             15(d). Failure to provide ADA compliant entrance door maneuvering clearances at the
 5
     subject property in violation of 2010 ADAS Section 403.5.1 and/or 1991 ADA Standards for
 6
 7   Accessible Design. The premises failed to have a compliant entrance door maneuvering clearances

 8   for a wheelchair accessible route as Plaintiff utilizes a wheelchair for mobility. Said barrier is
 9   covered by the A.D.A. guidelines and is in nonconformity with the requirements for such
10
     architecture.
11
             15(e). Failure to provide ADA compliant number of accessible interior and exterior table
12
     seating, in violation 2010 ADAS Section 226.1 and 227.3 and/or 1991 ADA Standards for
13
14   Accessible Design. The premises failed to have compliant numbers of accessible interior and

15   exterior table seating compared to the rest of the seating as Plaintiff utilizes a wheelchair due to
16   the Plaintiff’s disability and such handicapped accessible parking stalls are necessary. Said barrier
17
     is covered by the A.D.A. guidelines and is in nonconformity with the requirements for such
18
     architecture.
19
20           15(f). Failure to provide ADA compliant accessible table clearances, in violation of 2010

21   ADAS Section 306.1 and/or 1991 ADA Standards for Accessible Design. The premises failed to

22   have compliant accessible table clearances for wheelchair access as Plaintiff utilizes a wheelchair
23
     due to the Plaintiff’s disability and such handicapped accessible parking stalls are necessary. Said
24
     barrier is covered by the A.D.A. guidelines and is in nonconformity with the requirements for such
25
     architecture.
26
27

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 1           15(g). Failure to provide ADA compliant bar counter height, in violation of 2010 ADAS
 2   Section 904.4.1 and 904.4.2 and/or 1991 ADA Standards for Accessible Design. The premises
 3
     failed to have compliant bar counter height for wheelchair access as Plaintiff utilizes a wheelchair
 4
     due to the Plaintiff’s disability and such handicapped accessible parking stalls are necessary. Said
 5
     barrier is covered by the A.D.A. guidelines and is in nonconformity with the requirements for such
 6
 7   architecture.

 8           15(h). Failure to provide ADA compliant transaction counters height at the subject
 9   property in violation of 2010 ADAS Section 904.4.1 and 904.4.2 and/or 1991 ADA Standards for
10
     Accessible Design. The premises failed to have a compliant transaction counters with compliant
11
     height restrictions for wheelchair access as Plaintiff utilizes a wheelchair for mobility. Said barrier
12
     is covered by the A.D.A. guidelines and is in nonconformity with the requirements for such
13
14   architecture.

15           15(i). Failure to provide ADA compliant point of sale height at the subject property in
16   violation of 2010 ADAS Section 308.1 and/or 1991 ADA Standards for Accessible Design. The
17
     premises failed to have a compliant point of sale display with compliant height and reach
18
     restrictions for wheelchair access as Plaintiff utilizes a wheelchair for mobility. Said barrier is
19
20   covered by the A.D.A. guidelines and is in nonconformity with the requirements for such

21   architecture.

22           15(j). Failure to provide ADA compliant restroom exterior door maneuvering clearance
23
     at the subject property in violation of 2010 ADAS Section 404.2.3 and/or 1991 ADA Standards
24
     for Accessible Design. The premises failed to have compliant restroom door maneuvering
25
     clearance for wheelchair access as Plaintiff utilizes a wheelchair for mobility. Said barrier is
26
27

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 1   covered by the A.D.A. guidelines and is in nonconformity with the requirements for such
 2   architecture.
 3
             15(k). Failure to provide ADA compliant lavatory clear floor space at the subject property
 4
     in violation of 2010 ADAS Section 604.3.2 and/or 1991 ADA Standards for Accessible Design.
 5
     The premises failed to have compliant lavatory clear floor space requirements for wheelchair
 6
 7   access as Plaintiff utilizes a wheelchair for mobility. Said barrier is covered by the A.D.A.

 8   guidelines and is in nonconformity with the requirements for such architecture.
 9           15(l). Failure to provide ADA compliant restroom interior clearance at the subject
10
     property in violation of 2010 ADAS Section 404.2.4.1 and/or 1991 ADA Standards for Accessible
11
     Design. The premises failed to have compliant exterior door front pull approach clearance for
12
     wheelchair access as Plaintiff utilizes a wheelchair for mobility. Said barrier is covered by the
13
14   A.D.A. guidelines and is in nonconformity with the requirements for such architecture.

15           15(m). Failure to provide access to and use of ADA compliant restroom facilities,
16   including, but not limited to, compliant restroom door, signage, hardware, the required restroom
17
     maneuverability clear floor space, toilet and lavatory clear floor spaces, entry door clear floor
18
     space, accessible grab bars, accessible dispenser heights, and mirror height, in violation of 2010
19
20   ADAS Section 213.2 and/or 1991 ADA Standards for Accessible Design. The premises contained

21   multiple non-compliant features for wheelchair access as Plaintiff utilizes a wheelchair for

22   mobility. Said barrier is covered by the A.D.A. guidelines and is in nonconformity with the
23
     requirements for such architecture.
24
             16.       The above-referenced barriers will likely cause a repeated real injury in fact in a
25
     similar way if not remedied when the Plaintiff frequents this property again as described
26
27   previously. Each of these barriers interfered with the Plaintiff’s full and equal enjoyment of the

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 1   facility and deterred Plaintiff from encountering all applicable barriers at the premises by failing
 2   to allow Plaintiff the same access due to the Plaintiff’s disability as those enjoy without disabilities.
 3
             17.       Upon information and belief, there are other current non-compliant barrier access
 4
     violations of the ADA at Defendants’ premises, which may only be discovered and properly
 5
     identified once a full inspection of the premises is completed and identified due to Plaintiff being
 6
 7   deterred from discovering each and every barrier as a result of encountering the above-listed

 8   violations.
 9           18.       As of the date of the filing of this suit, the readily achievable barriers and other
10
     violations of the ADA still exist and have not been remedied or altered in such a way as to
11
     effectuate compliance with the provisions of the ADA. The barriers to access at the premises, as
12
     described above, have severely diminished Plaintiff’s ability to avail Plaintiff of the goods and
13
14   services offered at the Subject Facilities, and compromise Plaintiff’s safety.

15           19.       Pursuant to the ADA, 42 U.S.C. §12101 et. seq., and 28 C.F.R. §36.304, the
16   Defendants were required to make the Subject Facility, a place of public accommodation,
17
     accessible to persons with disabilities since January 28, 1992. To date, the Defendants have failed
18
     to comply with this mandate.
19
20           20.       The Plaintiff has been obligated to retain the undersigned counsel for the filing and

21   prosecution of this action. The Plaintiff is entitled to have his reasonable attorney’s fees, costs and

22   expenses paid by the Defendants, pursuant to 42 U.S.C. §12205.
23
             21.       Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant the
24
     Plaintiff’s injunctive relief; including an order to alter the subject facilities to make them readily
25
     accessible to, and useable by, individuals with disabilities to the extent required by the ADA and
26
27   closing the subject facility until the requisite modifications are completed.

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 1                  COUNT II: WASHINGTON LAW AGAINST DISCRIMINATION
 2           22.       Plaintiff incorporates by reference all allegations in the paragraphs above.
 3
             23.       Plaintiff is a qualified individual with a disability within the meaning of the
 4
     Washington Law Against Discrimination.
 5
             24.       Section 49.60.030(1) of the Revised Code of Washington provides in pertinent part:
 6
 7   “The right to be free from discrimination because of . . the presence of any sensory, mental, or

 8   physical disability . . is recognized as a declared to be a civil right. This right shall include, but not
 9   be limited to . . . (b) the right to the full enjoyment of any of the accommodations, advantages,
10
     facilities, or privileges of any place of public resort, accommodation, assemblage, or amusement .
11
     . .”
12
             25.       Defendants have violated and continue to violate §§ 49.60.010 et seq., of the
13
14   Revised Code of Washington by violating multiple accessibility requirements under the ADA.

15           26.       Defendants’ actions constitute discrimination against persons with disabilities and
16   violate the Washington Law Against Discrimination, Revised Code of Washington §§ 49.60.010
17
     et seq., in that persons with mobility disabilities have been and are denied full and equal
18
     enjoyment of the accommodations, advantages, facilities, privileges, and services that Defendant
19
20   provides to individuals who do not have disabilities.

21           27.       As a direct and proximate result of Defendants’ discriminatory conduct as alleged

22   in this Complaint for Declaratory and Injunctive Relief, the Plaintiff has suffered and continues
23
     to suffer difficulty, hardship, isolation, and segregation and is denied the full and equal
24
     enjoyment of services that the Washington Law Against Discrimination requires due to
25
     Defendant’s failure to remediate barriers.
26
27           28.       Defendants’ property does not comply with the ADA’s accessibility laws and

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 1   regulations.
 2           29.       Because Defendants’ property does not comply with the ADA’s accessibility laws
 3
     and regulations, declaratory and injunctive relief are appropriate remedies under the Washington
 4
     Law Against Discrimination. See e.g. Kucera v. Dep’t of Transp., 140 Wash. 2d 200, 209 (2000).
 5
             30.       Pursuant to RCW § 49.60.030(2), Plaintiff is entitled to declaratory and
 6
 7   injunctive relief and to recover from Defendants, reasonable attorneys’ fees and costs incurred

 8   in bringing this action.
 9                                          PRAYER FOR RELIEF
10
11
             WHEREFORE, the Plaintiff hereby demands judgment against the Defendants and the
12
     Court declare that
13
14           A.        The subject premises and facilities violate Title III of the Americans with

15                     Disabilities Act and the Washington Law Against Discrimination;
16           B.        The Court enter an Order requiring the Defendants to alter their facilities and
17
                       amenities to make them accessible to and usable by individuals with disabilities to
18
                       the full extent required by Title III of the ADA;
19
20           C.        Any portions of the Defendant’s premises identified as being non-compliant under

21                     the ADA guidelines be enjoined from being open to the public until such time that

22                     Defendants establish those areas are in full compliance with ADA requirements.
23
             D.        The Court enter an Order directing the Defendants to evaluate and neutralize their
24
                       policies, practices and procedures toward persons with disabilities, for such
25
                       reasonable time so as to allow the Defendants to undertake and complete corrective
26
27                     procedures to the Subject Facility;

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 1           E.       The Court award reasonable attorney’s fees, all costs (including, but not limited to
 2                    court costs and expert fees) and other expenses of suit, to the Plaintiff; and
 3
             F.       The Court award such other and further relief as it deems necessary, just and proper.
 4
 5
 6    DATED this ___ day of November, 2020.

 7                                                   Respectfully submitted,
 8
 9                                                   /s/ M. William Judnich
                                                     M. William Judnich
10                                                   WSBA #56087
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